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6
     LAURA PEZZI
7
8
                               IN THE UNITED STATES DISTRICT COURT
9
                              FOR THE EASTERN DISTRICT OF CALIFORNIA
10
11
     UNITED STATES OF AMERICA,                 )
12                                             ) Case No: 2:15-cr-00190-MCE-4
                      Plaintiff,               )
13                                             )
             vs.                               ) SEALING ORDER
14                                             )
15   LAURA PEZZI,                              )
                                               )
                                                 JUDGE: Hon. Morrison C. England Jr.
16                   Defendant-Movant.         )
                                               )
17                                             )
18
19          It is hereby ordered that the Request to Seal Exhibit A to Defendant-Movant’s Motion to

20   Reduce Sentence Pursuant to 18 U.S.C. § 3582(c)(1)(A)(i) (Compassionate Release) is

21   GRANTED so that confidential medical information is not available on the public docket.

22          These documents shall remain under seal until further Order of the Court.

23          IT IS SO ORDERED.

24   Dated: August 12, 2020

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26
27
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      Pezzi - Sealing Order
